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FEB Oo 2024
Artur Pupko Revd Filed Time

STEPHEN W, KENYON

4117 W 37" st LERK, DISTRICT OF IDAHO

Erie, PA 16508 14 -ce~ Xi
Mobile: 208-809-8184
Case No, 1:18-CR-00258-010-BLW

January 31, 2024
To: The Honorable Judge B Lynn Winmill

Your honor, in September of 2023 | completed my 6-month home confinement, In the same
month | was approved to move to Erie, PA where | currently reside. | was permitted by my idaho
Probation Officer (Selvedin Mustafic 208-473-8724) to renew/obtain a U.S. Passport. Recently | have
recelved my U.S. Passport. My wife and | would like to plan a vacation soon (February or March of 2024}.
I Inquired my Pennsylvania Probation Officer {Ashley Osborne 814-706-6593} if we can travel to Mexico.
She told me that 1 need to request te travel cut of the Country from the sentencing judge. The reason for
this letter is to request travel to Mexico. The main reason that we want to go to Mexico specifically is due
to the very reasonably priced travel compared to vacationing in the USA. | would like to point out that |
have followed ali the rules of probation with no violations and have paid all fines that were ordered
against me. if this request is approved, | would like to know if | need to Inquire of the Judge for future
out of country travei aside from this trip or If permission from my Probation Officer is sufficient. | respect
your decision and lock forward to hearing back about this request.

Sincerely,

Artur Pupke
